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 8                       IN THE UNITED STATES DISTRICT COURT

 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,           )   CASE NO.   2:13-CR-00166-LKK
                                         )
12                    Plaintiff,         )   GOVERNMENT’S MOTION TO DIMISS THE
                                         )   INDICTMENT AS TO DEFENDANT RAUL
13        v.                             )   MAGANA ; ORDER
                                         )
14   RAUL MAGANA,                        )
                                         )
15                    Defendant.         )
                                         )
16                                       )

17                                       ORDER
18             For the reasons set forth in the motion to dismiss filed by

19   the United States, IT IS HEREBY ORDERED that:

20             1. Count Four of the Indictment in Case No. 2:13-CR-00166-LKK

21               as to defendant RAUL MAGANA is hereby DISMISSED pursuant to

22               Federal Rule of Criminal Procedure 48(a) without prejudice.

23             2. The United States Marshal’s Office is directed to release

24               RAUL MAGANA immediately.

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     DATED: May 7, 2013
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